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17   [Counsel appearances continues on next page]
18                        IN THE UNITED STATES DISTRICT COURT
19                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                                   SOUTHERN DIVISION
21
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and            )
22
     CERCACOR LABORATORIES, INC.,           ) JOINT STATUS REPORT
     a Delaware corporation                 ) REGARDING STATUS OF
23                                          )
                 Plaintiffs,                ) SETTLEMENT
24                                          )
           v.                               )
25                                          ) Pre-Trial Conf.:   10/28/2024
     APPLE INC., a California corporation   ) Trial:             11/05/2024
26                                          )
                 Defendant.                 ) Hon. James V. Selna
27                                          )
28
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                                    #:182932



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1          Pursuant to this Court’s Scheduling Order dated May 23, 2024 (Dkt. 1946),
2    Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (jointly, “Masimo”)
3    and Defendant Apple Inc. (collectively, “Parties”) respectfully submit the following
4    Joint Report Regarding Status of Settlement.
5          The Parties have conducted in-person mediation with an independent ADR
6    specialist. The parties have been unable to resolve their dispute.
7

8                                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
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     Dated: October 15, 2024                        By: /s/ Jared C. Bunker
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1                               FILER’S ATTESTATION
2         Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
3    concurrence in the filing of this document has been obtained from all signatories
4    above.
5
     Dated: October 15, 2024           By: /s/ Jared C. Bunker
6
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7                                          Stephen C. Jensen
                                           Sheila N. Swaroop
8                                          Brian C. Horne
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9                                          Jared C. Bunker
                                           Kendall M. Loebbaka
10                                         Mark D. Kachner
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